[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION de PLAINTIFF'S MOTION TO STRIKE (£ 112)
The plaintiff moves to strike both the defendant's Answer and her Cross Complaint.
As to Answer
The answer admits all allegations contained in the complaint. It serves no purpose to strike the defendant's Answer. As to the Answer, the plaintiff's motion is denied.
As to Cross Complaint
The Cross Complaint attempts to state a cause of action sounding in intolerable cruelty. It fails to do so. Van Guilderv. Van Guilder, 100 Conn. (1923). "The defendant's Cross Complaint is stricken.
HARRIGAN, J.